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 1

 2                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO
 3
     Civil Action No: 19-CV-0293-PAB-STV
 4

 5   Gilbert T. Tso, a natural person and an American,   )   Article III, Court of Records
                                                         )   Common Law
             Plaintiff,                                  )
 6
                                                         )   Verified Complaint for:
     v.                                                  )
 7                                                       )   ===============================
     Rebecca Murray (a.k.a. Tso), et al.,                )   Civil RICO; Violations of Civil Rights, States &
 8                                                       )   Federal Statutes; Injunctive Relief (Sought)
                                                         )
 9           Defendants.                                 )   Demand for Trial by Jury where permitted.
                                                         )
10
           Plaintiff’s Motion for Relief from Judgment, ECF # 91 and from Order, ECF #90
11                                             Pursuant to
          Fed.R.Cv.P. 60(b)(2), (b)(6) and (d)(1); and for Subpoena and In Camera Review re:
12                                              New Facts.

13
          Plaintiff comes now and states before this Honorable Court the following:
14           a) On October 21, 2020, Plaintiff entered before this Honorable Court his Motion
15               Pursuant to Fed.R.Cv.P. 62.1 for an Indicative Ruling et seq., ECF #99; subsequently

16               on November 25, 2020, Plaintiff entered his Motion for SUBPOENA and IN
                 CAMERA REVIEW re: New Facts Presented in ECF #99, and in REPLY to ECF
17
                 #100.
18
             b) On March 3, 2021, the United States Court of Appeals for the Tenth Circuit issued
19               its ruling in case no. 20-1142 concerning the appeal of the Final Judgment, ECF #52,
20               returning jurisdiction to this Honorable Court.

21
          Pursuant to Fed.R.Cv.P. 60 (b)(2), (b)(6) and (d)(1), Plaintiff moves this Honorable Court
22   through this MOTION for Relief from Judgment et seq, to take notice of new facts previously

23   unavailable that are highly relevant to Plaintiff’s FIRST CLAIM; and for Subpoena and In

24                                                Page 1 of 15
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 2   Camera Review re: New Facts. As stated by Plaintiff in ECF #99, these facts could not have

 3   been discovered in time to move for a new trial under Fed.R.Cv.P. 59(b). Plaintiff further moves
     for a favorable ruling to set aside (1) Final Judgment, ECF #91, and (2) post-judgment Order,
 4
     ECF #90, as applied and pertaining to Plaintiff’s FIRST CLAIM; and to reopen Plaintiff’s First
 5
     Claim for hearing of these new facts, and for limited discovery as required and befitting under
 6   due process.

 7      This MOTION is timely entered as the Order Accepting Magistrate’s Recommendations,
     ECF #51, was entered on March 9, 2020, and the Final Judgment regarding Plaintiff’s Amended
 8
     Complaint, ECF #52, specific to Plaintiff’s FIRST CLAIM, was entered on March 10, 2020.
 9
     The relevant new facts were first disclosed by independent third parties unknown to Plaintiff
10
     until September 26, 2020 and thereafter, and these and additional facts presented herein were
11   obtained only recently as a result of a bit of luck and a lot of persistence.

12
                        MEMORANDUM OF LAW AND CIVIL PROCEDURES
13
        Fed.R.Cv.P. 60 (b) and 60 (d) state in relevant parts:
14
               (b) Grounds for Relief from a Final Judgment, Order, or Proceeding. On motion and
15             just terms, the court may relieve a party or its legal representative from a final

16             judgment, order, or proceeding for the following reasons:
                    :
17                  (2) newly discovered evidence that, with reasonable diligence, could not have
                    been discovered in time to move for a new trial under Rule 59(b);
18                  :
                    (6) any other reason that justifies relief.
19
               (d) Other Powers to Grant Relief. This rule does not limit a court's power to:
20
                    (1) entertain an independent action to relieve a party from a judgment, order, or
                    proceeding;
21
                    :
22

23

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 2      CAUSE AND JUSTIFICATION FOR RULE 60 MOTION ON NEW FACTS AND
                                            ALLEGATIONS
 3

 4     1. Pursuant to Fed.R.Cv.P. 60(b)(2) and (b)(6), and 60(d)(1), Plaintiff has good cause and
     justification for this MOTION as:
 5
               (i)     Plaintiff’s Amended Complaint and pleadings alleged defendants Akins, SPAL
 6
                       PC, Spiegle, Ridings and KRV PC engaged in multiple schemes and artifices
 7                     to defraud victims through a pattern of racketeering; and their actions directed
                       at Plaintiff’s custody dispute involving defendant Rebecca are common
 8
                       practice throughout the Enterprise that is the domestic relations courts of
 9                     Colorado and Illinois. Plaintiff supported his claims with facts and inferential
10                     allegations, contending that pattern as an element of his 18 U.S.C. §1962 claim
                       pursuant to the RICO ACT, exists and pervades so long as these defendants
11
                       operate within the Enterprise. Plaintiff alleged and argued that defendants are
12                     an ever-present risk and danger to other victims until and unless they are

13                     removed from the Enterprise entirely; and that other victims can be located
                       through discovery.
14
               (ii)    However, upon defendants’ joint motions to stay discovery pending a ruling on
15                     their motions to dismiss, this Court denied Plaintiff all discovery preventing
16                     Plaintiff from the benefit of this Court’s authority to compel defendants to
                       disclose information vital to Plaintiff’s inferential allegations. Consequently,
17
                       in its discretion this Court on March 10, 2020 dismissed Plaintiff’s FIRST
18                     CLAIM based on an insufficient pleading of pattern element of his 18 U.S.C.

19                     §1968 claim, and specifically for failure to show continuity or its plausibility.

               (iii)   Plaintiff entered Notice of Appeal on April 8, 2020 and jurisdiction of this
20
                       matter transferred to the United States Court of Appeals for the Tenth Circuit
21                     on May 7, 2020.
22             (iv)    Since May 7, 2020 Plaintiff obtained new evidence showing that the pattern of
23                     racketeering and corrupt practices by defendants alleged in Plaintiff’s

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 2                      Amended Complaint extends to include other practitioners within the family
                        court network affiliated with defendants, herein specifically Akins, SPAL PC
 3
                        and Spiegle, and involves multiple victims. These new facts further support
 4                      Plaintiff’s allegations, inferential or otherwise, that the artifices to defraud
 5                      described in the Amended Complaint are endemic and constitute common
                        practice throughout the Enterprise. As stated in Plaintiff’s complaint and
 6
                        pleadings, unless defendants are removed from the Enterprise, their corrupt
 7                      practices will continue as these networks and relationships remain, creating an
                        ever-continuing series of new victims. This is precisely the pattern element
 8
                        that RICO claims are required to show, inferred or otherwise, and that due
 9                      process demands discovery under the authority of the trial court.
10               (v)    Due to the Court’s granting of a stay of all discovery pending resolution of
11                      defendants’ motions to dismiss, Plaintiff was unable to timely establish
                        whether defendants Akins, SPAL PC, Spiegle, Ridings and KRV PC had
12
                        collaborated among them in other family court litigation creating other victims.
13                      Indeed, without this Court’s authority to compel defendants to disclose of such

14                      facts, Plaintiff was left with the heavy burden to timely provide facts to support
                        his inferential allegations.
15
          2. New Facts and Allegations Raise Substantial Issues that Warrant Relief and Discovery
16
     and are presented below.
17
                 (i)    On September 18, 2020 Plaintiff received an unsolicited voicemail from a
18                      private party, at the time unknown to Plaintiff, seeking an opportunity to
                        discuss matters specific to their complaint against defendant Dr. Richard
19
                        Spiegle1; this complaint is registered with Colorado Department of Regulatory
20
                        Agencies (CO DORA) case no. 2020-5533. On information and belief,
21                      officials from Denver County/Jefferson County Child Protective Services
                        (CPS) are also investigating.
22

23   1
         STATE OF COLORADO DEPT. OF REGULATORY AGENCIES Complaint No. 2020-5533.

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 2          (ii)    On September 26, 2020 Plaintiff met with this party in Jefferson County,
                    Colorado. Plaintiff was informed they were referred to Plaintiff’s federal
 3
                    pleadings by a colleague of theirs who remains unknown to Plaintiff.
 4
            (iii)   During this meeting, Plaintiff learned that defendant law firm SPAL PC and
 5                  defendant Tanya Akins initially represented this party in divorce and custody

 6                  litigation before the Denver District Court for a period between 2015 to 2017.
                    As the attorney of record for this party, defendant Akins brought Dr. Gene
 7
                    Gross and Dr. William Fyfe to serve as forensic evaluators; and later in 2017
 8                  Dr. Spiegle was assigned by the court to serve as the family’s therapist.

 9                  Following this meeting, the party further communicated with Plaintiff via text
                    messages confirming that,
10
                     “Tanya brought in Fyfe in 2017 to do the original PRE report in 2017.
11
                     Based on the results of that PRE report, (The report that said the ex-husband
12                   had major issues with the kids) Spiegel was brought in to be the family
                     therapist. Tanya is responsible for getting both of them involved.”
13
            (iv)    After defendant Spiegle got involved with the family, defendants Akins and
14
                    SPAL PC were fired by this party, and Drs. Gross and Fyfe were no longer on
15                  the case. On information and belief, this party fired Akins and SPAL PC for
16                  cause, but defendant Spiegle remained on their case per court order as the
                    family’s therapist.
17
            (v)     Plaintiff attests to his conversation with this party and from this conversation,
18
                    on information and belief, this CO DORA complaint is well supported with
19                  physical exhibits and records; the charges are detailed and well documented.
                    At the pleasure of this Court, and in the interest of justice, Plaintiff urges this
20
                    Court issue a federal subpoena to produce under seal a copy of this complaint.
21
            (vi)    Between October 11 through October 18, 2020, an associate familiar with
22                  Plaintiff’s federal RICO lawsuit helped facilitate several meetings between

23

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 2                Plaintiff, the party filing the CO DORA complaint against Spiegle, and other
                  victims. These meetings produced additional facts, including the following:
 3
                  a. Records and documentation exist showing networks of attorneys, law
 4
                     firms, psychologists and psychiatrists acting in cahoots to corrupt the
 5                   domestic relations courts across Colorado, predominantly in Denver,
                     Arapahoe, Jefferson, Adams, Weld, Boulder, and Douglas counties.
 6
                  b. Plaintiff was told by victims of one such network comprised of the
 7                   following agencies of attorneys and custody evaluators (Psy.D.’s and
                     M.D.’s) who have or had associations with certain law firms:
 8
                          i. The attorneys include Tanya Akins, David A. Lamb; Daniel Deasy;
 9                           Elizabeth Bonanno; Diane Wozniak; and Katie Ahles.

10                       ii. The custody evaluators include Dr. Richard Spiegle, Dr. William
                             Fyfe, Dr. Gene D. Gross, Dr. Dana L. Cogan, MD (ret.), Edward C.
11                           Budd, Ph.D, Kathleen McNamara, Ph.D. PLLC; Katz & Loizeaux
12                           Forensics Services LLC; Marian Camden Psy.D. LLC; Barbara
                             Shindell LCSW; and
13
                        iii. The law firms are alleged to be Gutterman Griffiths PC a.k.a.
14                           Griffiths Law PC; Sherr Puttman Akins Lamb PC; GEM Family
                             Law; Springer & Steinberg PC; McGuane and Hogan, PC a.k.a.
15                           Hogan Omidi, PC; and Sherman & Howard LLC.
16                c. In the multiple incidents alleged by victims involving falsified reports and
                     unsupported allegations, the law firms of Gutterman Griffiths PC and
17
                     Sherman & Howard LLC were often associated with Drs. William Fyfe,
18                   Gene Gross, Dana L. Cogan MD, Richard Spiegle, Edward C. Budd Ph.D.,
                     and Katz & Loizeaux Forensics Services. On information and belief, these
19                   law firms routinely collaborate with this network of psychologists and
                     psychiatrist to fuel high conflict custody disputes and to fix litigation
20
                     outcomes for personal enrichment.
21                d. This network of lawyers and custody evaluators operates in collusion to
22                   manipulate outcomes in custody litigation for personal enrichment, using
                     omissions, falsified reports, and unsupported allegations to fuel high
23                   conflict family court disputes. Victims have also alleged custody

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 2                       evaluations were deliberately fixed in exchange for cash compensation and
                         bribes.
 3
                      e. On information and belief, victims of this network of lawyers and custody
 4                       evaluators who spoke with Plaintiff attested to having incurred significant
                         legal and professional fees ranging from $150,000 upwards to over $1.2
 5
                         million per case from having to litigate unfounded allegations and
 6                       intentional misrepresentations.
                      f. Dr. Gene D. Gross, a member of this network, was recently investigated
 7
                         regarding multiple custody cases, was sanctioned, and had his professional
 8                       license to practice psychology suspended by the State of Colorado pending
                         disciplinary proceedings.2 On information and belief, Dr. Gross is a close
 9
                         professional associate of Dr. Fyfe, and likely of Dr. Richard Spiegle; all are
10                       members of this network of corrupt lawyers and custody evaluators.
                      g. Prior to joining defendant Sherr Puttman Akins Lamb PC, defendant Tanya
11
                         Akins worked for Gutterman Griffiths PC. On information and belief,
12                       Gutterman Griffiths PC a.k.a. Griffiths Law routinely employs several of
                         these corrupt custody evaluators, such as Drs. Gross, Fyfe and Spiegle.
13
              (vii)   On December 8, 2020, weeks after ECF #99, ECF #102 and ECF #103 were
14                    entered, Plaintiff received a call from another private individual referred to
15                    Plaintiff by one familiar with Plaintiff’s case. This private individual informed
                      Plaintiff that Akins was involved in their custody litigation, that Akins
16
                      involved Fyfe, and that Akins and Fyfe are alleged to have corruptly
17                    manipulated the facts and evidence to churn litigation to produce a targeted

18                    outcome. Additionally, Plaintiff subsequently discovered this individual also
                      collected testimonies provided voluntarily from more than a few dozen alleged
19
                      victims of Akins and other lawyers, involving at least one of the named
20                    psychologists from the list of Fyfe, Gross and Spiegle.

21

22
     2
      Sanctions were imposed by the State of Colorado against Dr. Gene D. Gross, CO License No.
23   PSY.0004086, due to a summary suspension entered by CO DORA, effective 9/1/2019.
24                                             Page 7 of 15
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 2                a. Plaintiff subsequently provided this individual with the list of schemes
                     alleged in Plaintiff’s Amended Complaint, ECF #52 @ ¶¶ 103-138. This
 3
                     individual identified at least two schemes named in Plaintiff’s Amended
 4                   Complaint were employed by Akins and Fyfe in their litigation.
 5                b. On further inquiry, many of the schemes identified in Plaintiff’s Amended

 6                   Complaint, ECF #52 @ ¶¶ 103-138, and how these schemes were
                     orchestrated, ECF #52 @ ¶ 99, were also identified in independent
 7
                     instances from this record, alleging Akins et al collaborated to defraud.
 8                c. On information and belief, Plaintiff states that there exist at least a dozen
 9                   credible independent instances, if not more, of individuals alleging
                     corruption involving Akins and SPAL PC with Gross, Fyfe and/or Spiegle,
10
                     where Akins’ victims described her and her cohorts as predatory and
11                   manipulative. In one instance independently verified by Plaintiff, a private

12                   individual revealed they are in the process of soon bringing a racketeering
                     lawsuit arising from circumstances surrounding their family court
13
                     litigation; when Plaintiff pressed for details, this individual stated that
14                   Akins and Fyfe are involved in the underlying controversy, that Akins and
                     Fyfe are considered hostile parties in this case, but would not at this time
15
                     reveal to Plaintiff whether Tanya Akins and/or William Fyfe will be named
16                   defendants.
17                d. The one constant that seems to pervade throughout these testimonies, once

18                   victims strip off the emotional angst that accompanies these events and
                     they’ve had some time to reflect, and when clarity of thinking returns, they
19
                     often come to the realization they or their spouses were manipulated by
20                   Akins’ and her cohort’s predatory practices which consequently increased
                     conflict in their cases. For example, they were told that they will end up
21
                     paying child support if they didn’t “do this,” or lose custody if they don’t
22                   “do that”; and then often individuals like Fyfe, Gross and/or Spiegle are
23                   introduced into litigation. It would seem that predatory practices are often

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 2                    recognized as unlawful across many industries and professions; Plaintiff
                      argues it should be no different in family law and especially where children
 3
                      and the vulnerable are involved.
 4
                   e. Due to the many private, confidential, and legal issues associated with
 5                    these new facts, Plaintiff, on information and belief, is not at liberty to

 6                    further provide identities and details at this time under this MOTION [see,
                      ECF #99, #102 and #103 for supporting facts and arguments; see also,
 7
                      Trammel v. United States, 445 U.S. 40, 50 (1980) and United States v.
 8                    Nixon, 418 U.S. 683, 710 (1974)]. The powers of this Court, the
                      Fed.R.Cv.P. and the Federal Rules of Evidence however do provide all
 9
                      parties in this case access to these new facts to argue for or against their
10                    admission as having substantial, probative, and relevant evidence to enable
11                    this Court to issue a ruling pursuant to Fed.R.Cv.P. 60(b)(2).

12          (viii) On March 2, 2021, an article titled “31 Missouri Judges Recuse Themselves
                   from Lawsuit Alleging Family Court Guardians and Psychologists
13                 Orchestrated Money-Making Scheme.” This news appeared on several news
                   outlets, local and national, including but not limited to
14
                   https://pjmedia.com/news-and-politics/megan-fox/2021/03/02/31-missouri-
15                 judges-recuse-themselves-from-lawsuit-alleging-family-court-guardians-and-
                   psychologists-orchestrated-money-making-scheme-n1428930 .
16
                   According to the article cited from the link, “The lawsuit alleges a scheme
17                 perpetrated by a group of professionals to drain parents involved in custody
18                 battles. At the end of the court process, parents are broke, and kids are
                   traumatized while GALs, court-appointed psychologists, and therapists are
19
                   enriched. … The suit alleges that this pattern is a regular family court
20                 occurrence when Pudlowski (guardian ad litem i.e., GAL, Elaine Pudlowski) is
                   involved.”
21
                   The “scheme” alleged in the Missouri lawsuit includes creating conflict to
22
                   churn litigation and generate billable hours through “altering evidence in
23                 violation of law”, where the perpetrators willfully and knowingly rendered and
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 2                billed “for services that were harmful and injurious,” all for personal
                  enrichment.
 3
                  This new fact is relevant to and has probative value supporting Plaintiff’s
 4
                  allegations and claims against Akins, SPAL PC, Ridings, KRV PC and Spiegle
 5                when considered together with Plaintiff’s Amended Complaint FIRST CLAIM

 6                and the new facts presented above and from ECF #99, #102 and #103. Not
                  only does this lawsuit in Missouri support Plaintiff’s allegation that the
 7
                  corruption identified in ECF #52 is widespread across the Enterprise not just in
 8                Colorado and Illinois but in many other states, and importantly, the alleged
                  schemes presented in the Missouri lawsuit very closely resemble the schemes
 9
                  described in ECF #52 @ ¶¶ 103-138.
10
                  Importantly, the fact that 31 Missouri judges recused themselves from this
11                lawsuit suggests the corruption may be more widespread but there’s no

12                evidence, at this time, to suggest more.

           (ix)   On information and belief, aside from the timing and the jurisdiction where
13
                  these occurrences took place, these new facts are not random coincidences as
14
                  the acts of racketeering and corruption perpetrated by Akins, Spiegle and
15                SPAL PC against Plaintiff are practices alleged to be both common and
                  widespread throughout the Enterprise [see above, ¶ 2(i)-(vi); see also, ECF #
16
                  52 @ ¶¶ 93-95].
17
           (x)    On information and belief, it was not coincidental that Akins and Spiegle
18                approached the Denver District Court in ex-Parte communications to use

19                Spiegle as a forensic evaluator while Spiegle was separately engaged as a
                  therapist for Plaintiff’s child. [See above, 2(iii)] Based on these new facts,
20
                  Plaintiff’s earlier allegation that defendants Akins, Rebecca and SPAL PC
21                intentionally set out to use Spiegle in a forensic capacity under the guise of a
                  therapist only to later testify against Plaintiff, for the purpose of fixing the
22
                  outcome of litigation, is not only plausible but can be shown to exist as a
23                pattern with continuity affecting other victims.
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 2      3. For purposes of this MOTION and Plaintiff’s case, the significance of these new facts and

 3   allegations rest with the associations of defendants Akins, SPAL PC, and Spiegle with other bad
     actors operating within the Enterprise; and that Akins and her cohorts represent a continuing
 4
     threat which is also cognizable in both pattern and execution based on the schemes to defraud as
 5
     alleged already by Plaintiff in ECF #52. In addition to Plaintiff’s allegations, these actors are
 6   alleged by other victims to have churned litigation, falsified records and engaged in predatory

 7   practices for personal enrichment. Importantly, at least one member of this network was recently
     sanctioned and had his professional license summarily suspended by the State of Colorado
 8
     pending disciplinary proceedings [see above, ¶ 2(vi)(f)].
 9
        4. On information and belief, defendants Akins, SPAL PC and Spiegle engaged in schemes
10
     and racketeering practices that are both common and widespread throughout the Enterprise; and
11
     that Akins, SPAL PC and Spiegle are intimately familiar with these schemes from their long-
12   standing collaboration with other bad actors within the Enterprise. These new facts support

13   Plaintiff’s prior inferential allegations. In the interest of justice, this Court should grant relief
     from judgment to allow discovery to proceed as relates to the First Claim.
14
                                                ARGUMENT
15
         Plaintiff incorporates as if herein his arguments presented in his: (a) pending MOTION for IN
16
     CAMERA REVIEW re New Facts Presented in ECF #99, and in REPLY to ECF #100, and (b)
17
     Plaintiff’s REPLY to Defendants’ Responses, ECF # 100 and ECF #101, Concerning Plaintiff’s
18   MOTION, ECF #99 [see, ECF #102 et seq and ECF #103 et seq.]; and further states:

19      5. The District Court, when concluding it lacked subject matter jurisdiction of those claims

20   due to Rooker-Feldman, consequently also denied Plaintiff all discovery. Plaintiff believes this
     to be an abuse of discretion for the District Court when it subsequently assumed jurisdiction of
21
     Plaintiff’s FIRST CLAIM while maintaining its denial of discovery to include this claim.
22
     Subsequently, the Court erred in law and due process by dismissing, during the pleading-phase
23

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 2   of these proceedings, Plaintiff’s FIRST CLAIM, despite factual and inferential allegations that

 3   18 U.S.C. §1962 defendants Akins, Ridings, Spiegle, SPAL PC, and KRV PC are regular actors
     engaged in schemes and practices shown in Plaintiff’s Amended Complaint to be common and
 4
     widespread throughout the Enterprise [see ECF # 52 at ¶¶ 103-141; see specifically, ¶ 141 Case
 5
     A.] involving other victims. This fact from the proceedings also questions whether the District
 6   Court held Plaintiff’s Pro Se Amended Complaint to a higher standard of pleading more befitting

 7   of attorney written pleadings, and failed to adhere to the guidance of the Supreme Court, and
     most recently affirmed by the 10th Circuit, to construe the complaint “must be viewed in the light
 8
     most favorable to the party opposing the motion,” at the motion to dismiss stage and determine
 9
     whether the Plaintiff may be entitled to relief, see United States v. Diebold, Inc., 369 U.S. 654,
10
     655, 82 S. Ct. 993, 994, 8 L. Ed. 2d 176 (1962); Matsushita Electric Industrial Co., Ltd. v. Zenith
11   Radio Corporation, 475 U.S. 574 (1986); Anderson v. Liberty Lobby, 477 U.S. 242 (1986); and

12   Ullery v. Bradley, 19-1079 (10th Cir. 2020).

13      6. The District Court’s denial of all discovery, including the ordering of standard
     interrogatories, is questionable under the factors set forth in String Cheese Incident, LLC v.
14
     Stylus Shows, Inc., No. 02-cv-01934-LTB-PAC, 2006 WL 894955 at *2 (D.Colo. Mar. 30,
15
     2006). These factors to determine good cause under Local Rule 30.2B are: (1) plaintiff's
16   interests in proceeding expeditiously with the civil action and the potential prejudice to plaintiff
17   of a delay; (2) the burden on the defendants; (3) the convenience to the court; (4) the interests of

18   persons not parties to the civil litigation; and (5) the public interest. Plaintiff’s right to due
     process was denied and he was prejudiced by the Court’s stay of all discovery for the FIRST
19
     CLAIM as it took jurisdiction to rule on Plaintiff’s FIRST CLAIM; as such the Rooker-Feldman
20
     doctrine apparently does not apply to his First Claim. Pursuant to String Cheese Incident, LLC
21   factor (1), Plaintiff was directly harmed. Equally important per factors (4) and (5), and the new
22   facts concerning an investigation into defendant Spiegle by the State of Colorado DORA and

23   CPS recently provided to Plaintiff by other victims, with the additional new facts concerning

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 2   defendant Akins and SPAL PC presented herein, a substantial injustice has resulted from the

 3   abuse of discretion of this Court. The outcome from the State of Colorado DORA review [see
     ECF #103 et seq.] should not be used to determine the probative value and significance of the
 4
     new facts pertaining to Spiegle for the arguments presented by Plaintiff in ECF #103 et seq.
 5
     Importantly, like Gross and Fyfe, Spiegle’s role is that of one player in the orchestration of the
 6   scheme to defraud; in Plaintiff’s case, as was the case underlying the DORA complaint against

 7   Spiegle, [see above, 2(iii)-(iv)] and other new cases [see above, 2(vi)-(viii)], it is Akins and the
     attorneys involved were the conductors orchestrating the fraud [see ECF #52 @ ¶¶ 97, 99].
 8

 9      7. Plaintiff’s Amended Complaint provided both factual and inferential allegations showing
     plausibility for the 18 U.S.C. §1962 element of “pattern” (specifically, “continuity”) to exist for
10
     defendants Akins, SPAL PC, Ridings, KRV PC and Spiegle. This warrants further discovery,
11
     including interrogatories, as to the alleged violations of 18 U.S.C. §1962, and is consistent with
12   the guidance of the Supreme Court of the United States in Anderson v. Liberty Lobby, Inc., 477

13   U.S. 242 (1986).

14      8. Plaintiff argues that his Amended Complaint, together now with the new facts alleged
     herein this MOTION, satisfy the Twombly plausibility standard for providing factual, both direct
15
     and inferential, allegations respecting all the elements necessary to sustain his First Claim under
16
     the legal theory of showing pattern/continuity, open and close, under 18 U.S.C. §1962.
17
     Importantly, the Amended Complaint explicitly stated that Plaintiff would support his factual
18   and inferential allegations through discovery to show these defendants pose a continuing RICO

19   threat. Despite the District Court granting Defendants’ motions staying all discovery, and by
     doing so denied Plaintiff due process, Plaintiff was able to sustain an independent investigation
20
     and effort to produce evidence supporting his inferential allegations. [See, Shero v. City of
21
     Grover, 510 F.3d 1196, 1200 (10th Cir. 2007) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544,
22   570 (2207)]
23

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 1

 2      9. Through this effort, from September 26, 2020 to present, Plaintiff received independently

 3   sourced statements, facts and possibly admissible evidence of professional misconduct and
     questionable ethics involving defendants Spiegle, Akins and SPAL PC. Importantly, it was
 4
     made known to Plaintiff following December 8, 2020 that multiple victims provided
 5
     independently documented statements alleging defendant Akins’ conduct in their litigation and
 6   Akins’ association with other bad actors alleged to have employed schemes to defraud like or

 7   identical to the schemes used against Plaintiff described in ECF # 52 @ ¶¶ 99, 103-138. These
     new facts raise significant issues that challenge the fairness of the ORDER, ECF #90, adopting
 8
     the recommendations of the Magistrate Judge pertaining to Plaintiff’s FIRST CLAIM. The
 9
     coordinated and collective acts of defendants Akins, SPAL PC, and Spiegle, and their association
10
     with other bad actors operating within the Enterprise in other unrelated litigation in the family
11   courts of Colorado, support Plaintiff’s allegations that is the foundation of Plaintiff’s FIRST

12   CLAIM, ECF #52. Akins with her cohorts not only victimized Plaintiff, but represent a
     continuing threat cognizable in pattern, continuity and execution that has in the past, and will
13
     likely continue to in the future, harm other victims through their employment of schemes to
14
     defraud as alleged by Plaintiff in ECF #52.
15
        10. In the interest of justice, the new facts raised herein represent significant issues
16   concerning Plaintiff’s First Claim and to the showing on pattern and continuity requisite for a
17   RICO claim. As allowed by Rule 60(b)(2) and 60(b)(6), this Honorable Court has the discretion

18   and authority to (1) consider these new facts on their merits pursuant the rules of evidence, (2) to
     issue subpoenas to produce such evidence and testimonies under oath, and (3) to conduct an In
19
     Camera hearing involving all parties to determine the admissibility of the new facts and
20
     evidence. In support, Plaintiff is prepared to make available to this Court at hearing the presence
21   of individual witnesses, their in-person testimonies under oath relating to the new facts presented
22   herein, and to propose a schedule for discovery once this Court grants relief from ECF #90 and

23   ECF #91 concerning Plaintiff’s First Claim.

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 1

 2                                               MOTION

 3      11. Pursuant to Fed.R.Cv.P. 60(b)(2) and 60(b)(6), and on account of new facts, statements
     made to Plaintiff by third parties, and the existence of possibly admissible evidence presented
 4
     herein, Plaintiff respectfully moves this Honorable Court to grant Plaintiff’s motion for
 5
     subpoenas and an In Camera hearing to review the new evidence in support of Plaintiff’s Rule
 6   60(b)(2) motion for relief; and thereafter grant relief from Judgment, ECF #91 and Order ECF

 7   #90 as concerns FIRST CLAIM in Plaintiff’s Amended Complaint, ECF #52.
                                       SUMMARY AND PRAYER
 8

 9      WHEREFORE, pursuant to Fed.R.Cv.P. 60(b)(2), 60(b)(6) and 60(d), your undersigned
     Plaintiff, Gilbert T. Tso, now prays that this Honorable Court:
10
            (A)     GRANT Plaintiff’s motion for ISSUANCE OF SUBPOENAES TO PRODUCE,
11                  UNDER SEAL, copies of relevant files and documents from COLORADO DEPT. OF
                    REGULATORY AGENCIES case no. 2020-5533 and to summon witnesses to testify
12                  under oath as to the facts presented herein, and for the admittance of evidence into the
                    record of this case; and
13
            (B)     FOR HEARING INSTANTER to examine these new facts, to produce witnesses
14                  and testimonies in accordance with the Federal Rules of Evidence and laws
15                  governing this case; and
            (C)     FOR RULE 60(b)(2), (b)(6) and (d) RELIEF FROM JUDGMENT/ORDER re:
16
                    Plaintiff’s FIRST CLAIM; and
17          (D)     any other relief that the Court deems fair and equitable.

18                                                          Respectfully submitted,
19

20                                                          s/ Gilbert T. Tso
                                                            Gilbert T. Tso
21                                                          3700 Quebec Street, #100-228
                                                            Denver, CO 80207
22                                                          Telephone: 312-339-1968
                                                            Email: gilbert.tso@gmail.com
23                                                          Pro Se Plaintiff, Party of Record

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                          CERTIFICATION OF DUTY TO CONFER

         On March 4, 2021 Plaintiff contacted Defendants’ counsels to confer on Plaintiff’s
      Motion for Relief from Judgment, ECF # 91 and from Order, ECF #90 Pursuant to
      Fed.R.Cv.P. 60(b)(2), (b)(6) and (d)(1); and for Subpoena and In Camera Review re: New
      Facts.

         Counsels for defendants all indicated they oppose this Motion. Plaintiff reports this is a
      contested motion.




                                                       s/ Gilbert T. Tso_____________
                                                       Gilbert T. Tso
                                                       3700 Quebec Street, #100-228
                                                       Denver, CO 80207
                                                       Telephone: 312-339-1968
                                                       Email: gilbert.tso@gmail.com
                                                       Pro Se Plaintiff, Party of Record
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                                   CERTIFICATE OF SERVICE

      This is to certify that I have duly served the within Plaintiff’s Motion Pursuant to
   Fed.R.Cv.P. 62.1 for an Indicative Ruling on a Fed.R.Cv.P. 60(b)(2) and (b)(6), (d)(1) Motion
   for Relief from Judgment, ECF # 91; and from Order, ECF # 90 upon all parties herein by
   depositing copies of same via CM/ECF, this 9th day of March 2021, addressed as follows:

   By CM/ECF:
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   Ralph L. Carr Colorado Judicial Center               1401 Lawrence Street, Ste. 2300
   1300 Broadway, 10th Floor                            Denver, CO 80202
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